Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 1 of 9 PageID# 1169




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA

                                                   Norfolk Division

 NATHANIEL POWELL,                                           )
                                                             )
                     Petitioner,                             )
                                                             )
            v.                                               )            Criminal No. 2:16cr97-02
                                                             )            Civil No. 2:18cv175
 UNITED STATES OF AMERICA,                                   )
                                                             )
                     Respondent.                             )

       UNITED STATES’ RESPONSE TO PETITIONER’S TWO REMAINING CLAIMS
                 TO VACATE, SET ASIDE, OR CORRECT SENTENCE

            The United States of America, by and through its attorneys, G. Zachary Terwilliger,

 United States Attorney for the Eastern District of Virginia, and John F. Butler and Andrew C.

 Bosse, Assistant United States Attorneys, hereby responds to Petitioner Nathaniel Powell’s two

 remaining claims to vacate, set aside, or correct sentence as ordered by the Court on August 9,

 2019. ECF No. 190. Petitioner’s Motion should be denied in its entirety because the remaining

 claims are without merit. In support thereof, the Government states as follows:

 I.         FACTUAL AND PROCEDURAL BACKGROUND 1

            On July 20, 2016, Petitioner was charged with four co-defendants in a twenty count

 indictment alleging, among other counts, Conspiracy to Manufacture, Distribute, and Possess

 with Intent to Distribute Heroin, in violation of 21 U.S.C. § 846 (Count One) and Possession

 with Intent to Distribute Fentanyl, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count

 Eleven). ECF No. 17. On September 20, 2016, the Court appointed Lawrence Woodward, Jr. to

 represent Petitioner. On October 20, 2016, Petitioner pled guilty to Count One of the Indictment.

 ECF Nos. 103, 104.

 1
     The United States incorporates herein the factual background set out in its previous response (ECF No. 185).
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 2 of 9 PageID# 1170




        Following the disclosure of the PSR, Petitioner’s counsel objected to his guidelines being

 enhanced by U.S.S.G. § 2D1.1(b)(12), for maintaining a premises for the purpose of distributing

 narcotics. ECF No. 155 at 2-3.

        On March 31, 2017, this Court conducted Petitioner’s sentencing hearing. The Court

 accepted Petitioner’s plea of guilty and adjudged him guilty of the charged offense. ECF No.

 158. The United States called DEA Task Force Officer (TFO) and Portsmouth Police Detective

 Robert Dyer to testify and address Petitioner’s objections.         After hearing argument on

 Petitioner’s objections to the PSR, the Court adopted the PSR without changes. ECF Nos. 158,

 161. The Court sentenced Petitioner to 300 months’ imprisonment, which was a sentence five

 years below the low end of the advisory guidelines range and five years below the government’s

 recommended sentence. ECF Nos. 160, 161. The Court advised the Petitioner of his right to

 appeal. ECF No. 158. Petitioner did not appeal his sentence.

        On April 2, 2018, Petitioner filed a motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

 or Correct Sentence. ECF No. 168. On October 19, 2018, the Court ordered the United States to

 respond to Petitioner’s motion. ECF No. 180. The United States responded to Petitioner’s

 motion on January 7, 2019. ECF No. 185. Petitioner replied on January 22, 2019. ECF No. 186.

 The Court dismissed four of Petitioner’s six claims on August 9, 2019. ECF No. 190. The Court

 directed the United States to file a supplemental brief regarding its position on the two remaining

 claims at least fourteen days before the evidentiary hearing, which currently is scheduled for

 April 1, 2020. Id.

        The United States hereby submits its position and respectfully submits that the Court

 should deny Petitioner’s motion.




                                                 2
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 3 of 9 PageID# 1171




 II.    STANDARD OF REVIEW

        To succeed in a claim of ineffective assistance of counsel, Petitioner must show 1) “that

 counsel’s representation fell below an objective standard of reasonableness,” and 2) “a

 reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

 would have been different.” Strickland v. Washington, 466 U.S. 668, at 688, 694 (1984).

 Scrutiny of counsel’s performance “must be highly deferential” and “viewed as of the time of

 counsel’s conduct.” Id. at 689-690.

 III.   ANALYSIS

        1. Claim One: Notice of Appeal

        Petitioner alleges that his constitutional right to the effective assistance of counsel was

 denied because counsel was ineffective for failing to file a Notice of Appeal. In a sworn affidavit

 dated January 16, 2019, Petitioner stated, counsel “came to see me a few days after I was

 sentenced and ask[sic] me if I wanted to appeal at that time. I expressed that I was unhappy with

 the sentence and wish[sic] to appeal.” ECF No. 186-2 at 2.

        Petitioner’s counsel submitted an affidavit to the Court on January 7, 2019 and again on

 March 18, 2020. ECF Nos. 185-1 and 197-1. In the March 18, 2020, affidavit counsel stated,

        At no time after the plea did Mr. Powell indicate any desire to appeal. I consulted
        with Mr. Powell about the right to file a Notice of Appeal and specifically that he
        was waiving that right as part of the plea agreement he entered into with the
        United States. He indicated a clear understanding of the waiver of appeal.

        In counsel’s 2019 affidavit, he indicated he had no record or memory of Petitioner’s

 request to file a notice of appeal. Had Petitioner made such a request, counsel’s practice was to

 file the notice of appeal and “then move to withdraw when the client has waived his right to

 appeal as part of the plea agreement.” ECF No. 185-1 at 2 ¶ 5.




                                                 3
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 4 of 9 PageID# 1172




         In this case, counsel consulted with Petitioner about his right to file a Notice of Appeal

 and Petitioner never made such a request. Had he done so, counsel would have filed the notice

 and then withdrawn from the case, as was his practice. Petitioner’s claim that he asked his

 counsel to file a Notice of Appeal is false. Given the heightened deference called for by

 Strickland, Petitioner’s claim on this issue should be denied.

         2. Claim Two: Counsel Failed to Investigate Facts Related to the Premises Enhancement

         Petitioner’s second and final remaining claim for the Court to address is whether counsel

 performed ineffectively regarding the sentencing enhancement for maintaining a drug premises.

 Counsel was not ineffective, and § 2255’s limitation on the type of claims that may be brought in

 this post-conviction proceeding bar Petitioner from attempting to re-litigate questions of fact

 already decided by this Court.

         Petitioner seeks to contest the credibility of a co-defendant’s statement that supported the

 enhancement. Petitioner has submitted a lease signed by a Ms. Dwanesa Brown for the period of

 January 2016 through 2017, perhaps to argue that his co-defendant could not have purchased

 drugs there prior to January 2016. There are at least three problems with Petitioner’s argument.

         First, the issue at this stage is not the credibility of the co-defendant or the various places

 Petitioner claims or will claim to have lived—instead it is about whether counsel was ineffective

 in addressing this enhancement. Counsel did in fact address this enhancement, both by objecting

 to it in his position paper and then objecting to it again at sentencing. The United States

 presented testimony from the DEA TFO who investigated the case, counsel cross-examined the

 officer, and the objection was overruled. Petitioner has not explained what else, if anything, his

 attorney purportedly should have done. A § 2255 proceeding is not another avenue toward re-

 litigate factual disputes.



                                                   4
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 5 of 9 PageID# 1173




        The second problem with Petitioner’s argument is that the production of a lease in the

 name of another individual does nothing to contradict the Court’s previous finding on this issue.

 Even assuming the defendant was living with Ms. Brown at the Gateway apartment during the

 period of the lease, and during no other period, that would not disprove that he used it as a drug

 premises. Likewise, it does not preclude the possibility that the defendant, an admitted narcotics

 trafficker who has been dealing drugs much of his adult life, maintained other apartments for the

 purpose of manufacturing and distributing narcotics. Petitioner argues that his co-defendant’s

 claim of purchasing heroin from him for five years could not be true given that he only lived at

 the Gateway apartment for one year, but that argument conflates two factual issues: how often

 his co-defendant purchased heroin from him at the Gateway apartment the length of time that co-

 defendant had been purchasing heroin from him. Nothing about the newly-produced lease

 suggests the co-defendant did not use Petitioner as a source of supply for five years; likewise,

 nothing about it suggests she could not have purchased heroin from him at the Gateway

 apartment twelve times over the course of one year, as the agent testified he learned from the co-

 defendant.

        Petitioner’s counsel’s objection specifically addressed the co-defendant’s credibility, but

 after testimony from DEA TFO Dyer, the Court overruled the objection. TFO Dyer testified

 about his interview with Ms. Wilson and her description of a kilogram of heroin she observed at

 a property on Gateway Drive used by Petitioner (“She explained that it was approximately 2 to 3

 inches thick, and it was approximately 9 inches by 6 inches in size.”). ECF No. 167 at 15. TFO

 Dyer was also asked how many times Ms. Wilson purchased heroin from Petitioner and his

 answer was “Approximately, 12.” Id. at 19. Ultimately, the issue now is not the credibility of Ms.

 Wilson, but the effectiveness of Petitioner’s counsel. Nothing about his performance was

 ineffective. He objected to the enhancement, contested the credibility of the source of the

                                                 5
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 6 of 9 PageID# 1174




 enhancement, and cross-examined the agent witness. That the objection was overruled does not

 make counsel’s performance per se ineffective.

        The third problem with Petitioner’s argument is his meritless claim that he instructed his

 counsel to investigate the lease. In a sworn affidavit Petitioner stated, “I ask[sic] [counsel] to get

 the lease agreement for the Gateway drive address to prove that the owner started renting in

 2016.” ECF No. 186-2 at 2. On March 18, 2020, Petitioner’s counsel stated,

        I have no memory of being asked to [get the lease agreement for the Gateway
        Drive address] and my file does not indicate[] any such request from Mr. Powell.
        At no time during my representation of Mr. Powell did I become aware of the
        lease he filed with the Court (ECF Nos. 170-1 and 186-1). He and I discussed the
        premises enhancement, and based on those discussions and my review of a
        summary of Ms. Wilson’s statement to law enforcement, I raised an objection
        with the Court at sentencing (ECF No. 155 page 3 ¶ 4), which was overruled.

        ECF No. 197-1.

        The Court directed the government to address the nature of defense counsel’s

 investigation, and it is clear from Mr. Woodward’s affidavit that no such request to obtain a lease

 was made at the time he represented Petitioner. For argument’s sake, even if Petitioner had made

 such a request and Mr. Woodward had obtained the lease, it still would not have contradicted

 TFO Dyer’s testimony about Ms. Wilson’s debrief or overcome the fact that Petitioner used the

 apartment as a drug premises.

        3. Petitioner Can Not Establish Counsel’s Deficient Performance.

        The “deficient performance” component of Strickland’s two-pronged formulation

 requires a litigant to demonstrate “that counsel made errors so serious that counsel was not

 functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland,

 466 U.S. at 687. That is, a litigant must show that his attorney’s performance “fell below an

 objective standard of reasonableness.” Id. at 688. Judicial scrutiny of an attorney’s performance

 “must be highly deferential.” Id. at 689. Counsel consulted with Petitioner about on his rights to

                                                   6
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 7 of 9 PageID# 1175




 appeal and Petitioner never asked counsel to file a notice of Appeal. Furthermore, counsel

 examined Ms. Wilson’s claim and objected to the premises enhancement. The government then

 produced testimony from the investigative officer to support the enhancement, and the Court

 overruled the objection. Under these circumstances, there is no basis for a finding that counsel

 made any “serious” errors, let alone those that would fall “below an objective standard of

 reasonableness.” Id. at 688.

        4. Petitioner Was Not Prejudiced By Counsel’s Performance.

        Petitioner has put forth no evidence to demonstrate a “reasonable probability” that “the

 result of the proceeding would have been different.” Id. at 694. In fact, the opposite could be

 found—but for Mr. Woodward’s zealous advocacy, Petitioner may have received a 40 year

 sentence or a 30 year sentence as recommended by the United States and the advisory guidelines.

 Instead, Petitioner received a sentence five years below the low end of the advisory guidelines.

         IV.    CONCLUSION

        While there will be an evidentiary hearing on the Notice of Appeal issue, it is in the

 Court’s discretion to deny the second claim related to the premises enhancement without a

 hearing. The Government contends that the record supports a denial of the enhancement claim

 without the need to address it at the evidentiary hearing. For the foregoing reasons, the

 Government submits that Petitioner’s remaining two grounds for relief under 28 U.S.C. § 2255

 should be denied.

                                              Respectfully submitted,

                                              G. ZACHARY TERWILLGER
                                              UNITED STATES ATTORNEY




                                                 7
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 8 of 9 PageID# 1176




                        By:                  /s/
                              John F. Butler
                              Assistant United States Attorneys
                              Andrew C. Bosse
                              Assistant United States Attorney
                              Attorneys for the United States
                              United States Attorney’s Office
                              101 West Main Street, Suite 8000
                              Norfolk, Virginia 23510
                              Office Number - 757-441-6331
                              Facsimile Number - 757-441-6689
                              E-Mail: john.f.butler@usdoj.gov;
                                      andrew.bosse@usdoj.gov




                                        8
Case 2:16-cr-00097-AWA-LRL Document 197 Filed 03/18/20 Page 9 of 9 PageID# 1177




                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of March, 2020, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, and mailed a true and correct copy

 of the foregoing to the following non-filing user:

                                         Nathaniel Powell
                                      Inmate No. 90186-083
                                       FCI Butner Medium I
                                  Federal Correctional Institution
                                          P.O. Box 1000
                                        Butner, NC 27509


                                                              /s/
                                               John F. Butler
                                               Assistant United States Attorney
                                               Attorney for the United States
                                               United States Attorney’s Office
                                               101 West Main Street, Suite 8000
                                               Norfolk, Virginia 23510
                                               Office Number - 757-441-6331
                                               Facsimile Number - 757-441-6689
                                               E-Mail: john.f.butler@usdoj.gov




                                                  9
